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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,                       )
                                                 )
Plaintiffs,                                      )
                                                 )       Case No. 16-2105-JAR-JPO
v.                                               )
                                                 )
KRIS KOBACH, in his official capacity as         )
Secretary of State for the State of Kansas,      )
                                                 )
                 Defendant.                      )
                                                 )

                                              ORDER

        Having considered the parties’ Joint Motion for an Order Holding in Abeyance

Proceedings Regarding Attorneys’ Fees and Expenses, filed June 29, 2018 (Doc. 545), the Court

finds that said motion should be sustained and all fees and related expense issues shall be held in

abeyance until all appeals filed in relation to this action have been exhausted, with the exception

of Plaintiffs’ Application for Attorneys’ Fees and Litigation Expenses in Connection with their

Motion for Contempt (Doc. 529). Any other motions for fees and related expenses shall be filed

within 45 days from the date of final resolution of any appeal, including any petition for a writ of

certiorari in the U.S. Supreme Court or decision by the U.S. Supreme Court, filed in relation to

this action.


        IT IS THEREFORE ORDERED BY THE COURT that the parties’ Joint Motion for

an Order Holding in Abeyance Proceedings Regarding Attorneys’ Fees and Expenses (Doc. 545)

is granted.


        IT IS SO ORDERED.
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Dated: July 2, 2018
                                     S/ Julie A. Robinson
                                    JULIE A. ROBINSON
                                    CHIEF UNITED STATES DISTRICT JUDGE
